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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

ERIC C. BURGIE,
ADC #120956                                                                        PLAINTIFF

V.                              CASE NO. 5:19-CV-352-JM-BD

WENDY KELLY, et al.                                                            DEFENDANTS
                                            ORDER

        The Court has received a Partial Recommended Disposition from Magistrate Judge Beth

Deere to dismiss some claims and deny the pending motion to amend the complaint. (Doc. No.

109). Mr. Burgie filed timely objections. (Doc. No. 111). After reviewing the Partial

Recommended Disposition, Mr. Burgie’s objections, and making a de novo review of the record,

the Court concludes that the Recommendation should be, and hereby is, approved and adopted as

this Court’s findings in all respects.

        Mr. Burgie’s motion to dismiss the retaliation claims against Defendant Williams (Doc.

No. 105) is GRANTED. The claim is dismissed without prejudice.

        Mr. Burgie’s fourth motion to amend his complaint (Doc. No. 106) is DENIED.

        IT IS SO ORDERED, this 19th day of October, 2020.


                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
